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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

_____________________________________________________________________________

In re: David Anthony Miller,                        Case No. 19-31377

                                                    Chapter No. 7

            Debtors                       Judge Laura K. Grandy
______________________________________________________________________________

               NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

       Charles A. Armgardt hereby files this notice of appearance and request for notice as
counsel for Ronald Buch, and Deighan Law LLC d/b/a UpRight Law LLC.


DATED: April 13, 2020                                      Respectfully submitted,

                                                           /s/Charles A. Armgardt
                                                           Charles A. Armgardt
                                                           Illinois Bar No 6328149
                                                           UpRight Law LLC
                                                           Of Counsel
                                                           79 W Monroe St, 5th Floor
                                                           Chicago, IL 60603
                                                           (P) (877) 927-5451
                                                           carmgardt@uprightlaw.com
                                                           Counsel for Ronald Buch, and
                                                           Deighan Law LLC d/b/a UpRight
                                                           Law LLC


                               CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing was served upon all counsel of
record via CM/ECF filing system and to the debtor listed below via regular first-class mail,
proper prepaid postage and deposited at a U.S. Mailbox on or about April 13, 2020:

David Anthony Miller
200 South 4th St
Dupo, IL 62239
                                                                    /s/Charles A. Armgardt
                                                                    Charles A. Armgardt
